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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 MICHAEL L. TAYLOR and PETER M.
 TAYLOR,
        Petitioners,

                 v.
                                                          Case No. 4:20-cv-11272-IT
 JEROME P. MCDERMOTT, Sheriff, Norfolk
 County, Massachusetts, and JOHN
 GIBBONS, United States Marshal, District of
 Massachusetts,

        Respondents.


        RESPONSE TO RESPONDENTS’ SUPPLEMENTAL EXHIBIT (DKT. 60)

       While Petitioners Michael and Peter Taylor maintain that substantive review of the Deputy

Secretary of State’s asserted torture determination in this case is both necessary and appropriate

(especially in light of the declarations, reports, articles and other materials attesting to Japan’s

treatment of detainees which Petitioners have submitted), we note that the Declaration of Stephen

E. Biegun submitted by the Government (Dkt. 60-1) does not state whether “appropriate policy

and legal offices review[ed] and analyze[d]” information relevant to” the Taylors case and

“prepare[d] a recommendation to the Secretary as to whether or not to sign the surrender warrant,”

as required by 22 C.F.R. § 95.3(b). While the declaration acknowledges these legal requirements,

Mr. Beigun does not state whether the Department of State actually complied with those

obligations in this case.    Accordingly, the declaration would not meet even the limited

requirements set forth by the majority opinion in Trinidad y Garcia v. Thomas, 683 F.3d 952 (9th

Cir. 2012).
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Dated: November 13, 2020                  Respectfully submitted,

                                          By their attorneys,

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                                CERTIFICATE OF SERVICE

       I, Paul V. Kelly, counsel for Petitioners Michael and Peter Taylor, hereby certify that on

November 13, 2020, I served a copy of the foregoing on all registered parties by electronic filing

on ECF.

                                                            /s/ Paul V. Kelly
                                                            Paul V. Kelly




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